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                    EXHIBIT B
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 2 of 77
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                                        CIVIL CASE
                   Case 3:19-cv-00373 Document 1-2 INFORMATION   SHEET
                                                    Filed on 11/08/19 in TXSD Page 7JOHN
                                                                                      of 77Filed:
                                                                                          D.
                                                                                                  10/2/2019 7:23 PM
                                                                                                Print
                                                                                             KINARD    - District Clerk
                                        19-CV-1894                                         Galveston County, Texas
            CAUSE NUMBER (FOR CLERK USE ONLY): _______________________________ COURT (FOR CLERK USE ONLY): ______________________
                                                                                                                     Envelope No. 37337372
                                                                                                                                                                                         By: Lisa Kelly
                     Trent Norris and Dayna Owen v. United Property & Casualty Insurance Company and Thomas Boggs
              STYLED ___________________________________________________________________________________________________
                                                                                                                  10/3/2019 10:01 AM
                                  (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time of filing.
 1. Contact information for person completing case information sheet:                   Names of parties in case:                                         Person or entity completing sheet is:
                                                                                                                                                          Attorney for Plaintiff/Petitioner
 Name:                                     Email:                                       Plaintiff(s)/Petitioner(s):                                       Pro Se Plaintiff/Petitioner
                                                                                                                                                          Title IV-D Agency
 Andrew C. Cook
 _____________________________             acc@texinsurancelaw.com
                                           ____________________________                 Trent Norris and
                                                                                        _________________________________                                 Other: _________________________

 Address:                                  Telephone:                                    Dayna Owen
                                                                                        _________________________________
                                                                                                                                                       Additional Parties in Child Support Case:
 7324 Southwest Fwy, Ste 585
 _____________________________              713-401-2890
                                           ____________________________
                                                                                        Defendant(s)/Respondent(s):                                    Custodial Parent:
 City/State/Zip:                           Fax:                                                                                                        _________________________________
                                                                                        United Property & Casualty
                                                                                        _________________________________
 Houston, Tx 77074
 _____________________________             682-200-2849
                                           ____________________________                                                                                Non-Custodial Parent:
                                                                                        Insurance Company and
                                                                                        _________________________________                              _________________________________
 Signature:                                State Bar No:
                                                                                        Thomas Bogg
                                                                                        _________________________________                              Presumed Father:
 _____________________________             24057481
                                           ____________________________                                                                                _________________________________
                                                                                        [Attach additional page as necessary to list all parties]

 2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                   Civil                                                                                                   Family Law
                                                                                                                                                                      Post-judgment Actions
            Contract                 Injury or Damage                    Real Property                                                 Marriage Relationship             (non-Title IV-D)
 Debt/Contract                   Assault/Battery                     Eminent Domain/                                                    Annulment                     Enforcement
      Consumer/DTPA              Construction                        Condemnation                                                       Declare Marriage Void         Modification—Custody
      Debt/Contract              Defamation                          Partition                                                        Divorce                         Modification—Other
      Fraud/Misrepresentation  Malpractice                           Quiet Title                                                           With Children                    Title IV-D
      Other Debt/Contract:          Accounting                       Trespass to Try Title                                                 No Children                Enforcement/Modification
      ____________________          Legal                            Other Property:                                                                                  Paternity
 Foreclosure                        Medical                           ____________________                                                                            Reciprocals (UIFSA)
      Home Equity—Expedited         Other Professional                                                                                                                Support Order
      Other Foreclosure             Liability:
   Franchise                        _______________                   Related to Criminal
   Insurance                     Motor Vehicle Accident                      Matters                                                    Other Family Law             Parent-Child Relationship
   Landlord/Tenant               Premises                            Expunction                                                         Enforce Foreign               Adoption/Adoption with
   Non-Competition             Product Liability                     Judgment Nisi                                                      Judgment                      Termination
   Partnership                     Asbestos/Silica                   Non-Disclosure                                                     Habeas Corpus                 Child Protection
   Other Contract:                 Other Product Liability           Seizure/Forfeiture                                                 Name Change                   Child Support
    ______________________          List Product:                    Writ of Habeas Corpus—                                             Protective Order              Custody or Visitation
                                    _________________                Pre-indictment                                                     Removal of Disabilities       Gestational Parenting
                                 Other Injury or Damage:             Other: _______________                                             of Minority                   Grandparent Access
                                    _________________                                                                                   Other:                        Parentage/Paternity
________________________________________________________________________________                                                        __________________            Termination of Parental
                                                                                                                                                                      Rights
                                                                                                             ____________________


          Employment                                     Other Civil
                                                                                                                                                                      Other Parent-Child:
   Discrimination                 Administrative Appeal              Lawyer Discipline                                                                                 _____________________
   Retaliation                    Antitrust/Unfair                   Perpetuate Testimony
   Termination                    Competition                        Securities/Stock
   Workers’ Compensation          Code Violations                    Tortious Interference
   Other Employment:              Foreign Judgment                   Other: _______________
    ______________________        Intellectual Property

               Tax                                                                               Probate & Mental Health
     Tax Appraisal                     Probate/Wills/Intestate Administration                                                       Guardianship—Adult
     Tax Delinquency                        Dependent Administration                                                                Guardianship—Minor
     Other Tax                              Independent Administration                                                              Mental Health
                                            Other Estate Proceedings                                                                Other: ____________________

 3. Indicate procedure or remedy, if applicable (may select more than 1):
     Appeal from Municipal or Justice Court                    Declaratory Judgment                                    Prejudgment Remedy
     Arbitration-related                                       Garnishment                                             Protective Order
     Attachment                                                Interpleader                                            Receiver
     Bill of Review                                            License                                                 Sequestration
     Certiorari                                                Mandamus                                                Temporary Restraining Order/Injunction
     Class Action                                              Post-judgment                                           Turnover
 4. Indicate damages sought (do not select if it is a family law case):
     Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
     Less than $100,000 and non-monetary relief
     Over $100, 000 but not more than $200,000
     Over $200,000 but not more than $1,000,000
     Over $1,000,000
                                                                                                                                                         Rev 2/13
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                                                                        of 77
                                                                            D. KINARD - District Clerk
                                                                                             Galveston County, Texas
                                                                                              Envelope No. 37337372
                                                                                                        By: Lisa Kelly
                                                19-CV-1894                                       10/3/2019 10:01 AM

                                      CAUSE NO. ________

 TRENT NORRIS AND DAYNA OWEN                     §            IN THE DISTRICT COURT OF
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §           GALVESTON COUNTY, TEXAS
                                                 §
 UNITED PROPERTY & CASUALTY                      §
 INSURANCE COMPANY AND                           §            Galveston County - 122nd District Court
 THOMAS BOGGS                                    §
                                                 §
        Defendants.                              §            ________ JUDICIAL DISTRICT

                         PLAINTIFFS’ ORIGINAL PETITION
        Plaintiffs, Trent Norris and Dayna Owen, file this Plaintiffs’ Original Petition against

Defendants, United Property and Casualty Insurance Company and Thomas Boggs, and for cause

of action, would respectfully show this Honorable Court the following:

                                 I. DISCOVERY CONTROL PLAN

        1.      Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the

TEXAS RULES OF CIVIL PROCEDURE. This case is a first-party insurance suit arising out of covered

property damage to Plaintiffs’ home caused by Hurricane Harvey. This dispute involves complex

legal issues originating from the TEXAS INSURANCE CODE, common law, and recent Texas case

law. It will include detailed discovery regarding claims-handling practices, coverage decisions,

adjustment/payment of claims, including Plaintiffs’ claim, as well as the systematic approach by

United Property and Casualty Insurance Company and its adjusters to the handling of catastrophic

loss property damage claims arising from Hurricane Harvey. Plaintiffs therefore respectfully ask

this Court to order that discovery be conducted in accordance with a discovery control plan tailored

to the particular circumstances of this suit.


                              Status Conference set 12-26-19
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                                           II. PARTIES

         2.      Plaintiffs, Trent Norris and Dayna Owen, are Texas residents who reside in

Galveston County, Texas.

         3.      Defendant, United Property and Casualty Insurance Company (“UPC”), is a foreign

insurance company authorized to engage in the business of insurance in the State of Texas. UPC

may be served through its registered agent for service of process in the State of Texas, CT

Corporation System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         4.      Defendant, Thomas Boggs, is an individual licensed adjuster, who has done

business in the State of Texas. Mr. Boggs may be served with process by certified mail, return

receipt requested, at his principle place of business located at: 800 2nd Ave S, Saint Petersburg,

Florida 33701.

                                 III. JURISDICTION AND VENUE

         5.      This Court has jurisdiction over this cause of action because the amount in

controversy is within the jurisdictional limits of the Court. Pursuant to Rule 47 of the TEXAS RULES

OF   CIVIL PROCEDURE, Plaintiffs states to seek monetary relief in excess of $100,000.00 and less

than $200,000.00. Plaintiffs reserve the right to amend their petition during and/or after the

discovery process.

         6.      This Court has personal jurisdiction over UPC because UPC is an insurance

company authorized to do business in Texas and Plaintiffs’ causes of action arise out of UPC’s

business activities in this State.

         7.      This Court has personal jurisdiction over Thomas Boggs because, at all times

relevant to this cause, Mr. Boggs was engaged in the business of adjusting insurance claims in the

State of Texas, and Plaintiffs’ causes of action arise out of his business activities in this State.




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        8.      Venue is proper in Galveston County because the insured property is located in

Galveston County, and all or a substantial part of the events giving rise to this lawsuit occurred in

Galveston County. TEX. CIV. PRAC. & REM. CODE § 15.032.

                                            IV. FACTS

        9.      Plaintiffs own the residential property at 206 Oak Drive, Friendswood, TX 77456

the “Property”). UPC sold, and Plaintiffs paid for, a Texas homeowners’ insurance policy (UTH

0337757 00) to protect and insure Plaintiffs’ dwelling, other structures, personal property, and

other items applicable to the Property.

        10.     From August 25th through September 1, 2017, Hurricane Harvey swept across

Coastal Texas, causing widespread destruction and devastation. Hurricane Harvey’s massive wind

field caused widespread destruction in and around Galveston County, and Plaintiffs’ Property,

specifically.

        11.     Plaintiffs’ Property suffered extensive wind and wind-related damage during

Hurricane Harvey. Specifically, Harvey damaged the Property’s roofing system, building

envelope, and interior of the Property, and also caused tree falls, which—along with the winds—

caused severe damage to the Property fence. The severe and widespread damage to the roof and

building envelope created openings that allowed water to penetrate into the Property’s interior and

led to significant interior water damage.

        12.     Following Hurricane Harvey, Plaintiffs promptly and timely reported their Property

claim (Claim No. 201TX025994) under the Policy and asked UPC to cover the cost of repairs

required to return the Property to its pre-loss condition, including, but not limited to, replacement

of the roof, repairs to wind and debris damages to all exterior elevations, as well as interior water

damage, and fence damage.




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        13.      Plaintiffs are entitled to these benefits under the UPC Policy as it specifically

covered Plaintiffs’ dwelling for wind and wind-related damage, and specifically, hurricane

damage. All of the damage to the Property referenced herein and made subject of this suit was

covered under the express terms of the UPC Policy.

        14.      UPC assigned Thomas Boggs to inspect Plaintiffs’ Property and adjust the Claim

on its behalf.

        15.      Mr. Boggs, however, failed to perform a reasonable or adequate inspection of the

Property or investigation of Plaintiffs’ Claim. In his inspection, Mr. Boggs either completely

missed or simply ignored damages that were present at the time of his inspection and were clearly

attributable to Harvey’s winds, and not the floodwaters which, Plaintiffs acknowledge, did also

damage certain parts of the Property and which damages were neither covered by the UPC Policy

nor made the basis of Plaintiffs’ Claim with UPC.

        16.      The inadequacy of Mr. Boggs’ investigation and adjustment of Plaintiffs’ Claim is

evidenced by the fact he neither adjusted for, nor included, the full scope of Plaintiffs’ roof damage

and neglected even to note, much less properly address, non-flood damage to multiple rooms in

the Property. Plaintiffs’ roof sustained extensive wind damage to its entire surface and to the

underlying structure/framing. Evidence of wind damage is readily apparent from even a casual

view. The extensive, widespread roof damage resulted in openings which allowed water to

penetrate the Property’s envelope in multiple locations and resulted directly in substantial interior

damage to Plaintiffs’ home, which Mr. Boggs also failed to document properly or sufficiently.

        17.      Although Plaintiffs notified, and later reminded, UPC numerous times of the

significant roof damage that caused major leaks throughout the interior of the Property, Mr. Boggs

failed to fully or adequately inspect the damaged areas of Plaintiffs’ property, nor account properly

for them in his estimate. Mr. Boggs’ failure to record the full extent of the wind-damaged Property

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resulted in an improperly under-scoped and consequently undervalued estimate for repairs that

was submitted to UPC (the “Estimate”).

          18.   Plaintiffs contend that, upon information and belief, UPC and Mr. Boggs set out

and overtly sought to under-scope, underpay, and ultimately minimize Plaintiffs’ Claim for

covered damages. At minimum, UPC ratified Mr. Boggs’ unreasonable and improper

“investigation” and adjustment of the Claim, resulting in Plaintiffs’ Claim effectively being denied

in part as well as undervalued and underpaid. Plaintiffs have suffered actual damages resulting

from UPC’s and Mr. Boggs’ wrongful acts and omissions as set forth above and further described

herein.

          19.   In short, Plaintiffs have yet to receive the full amount of payment to which they are

entitled under the Policy because the Claim was improperly and unreasonably adjusted.

                                    V. CAUSES OF ACTION

                              BREACH OF CONTRACT AGAINST UPC

          20.   An insurance policy is considered a contract under Texas law. UPC failed to

perform its contractual duties to adequately compensate Plaintiffs in accordance to the terms of

the Policy that they wrote and sold to Plaintiffs. Specifically, UPC refused to pay the full proceeds

of the Policy, although due demand was made for proceeds to be paid in an amount sufficient to

cover the damaged property, and all conditions precedent to recovery upon the Policy had been

carried out and accomplished by Plaintiffs. UPC’s conduct constitutes a breach of the insurance

contract between UPC and Plaintiffs.

                         NON-COMPLIANCE BY UPC WITH THE TEXAS
                      INSURANCE CODE, UNFAIR SETTLEMENT PRACTICES

          21.   UPC’s conduct constitutes multiple violations of the TEXAS INSURANCE CODE,

UNFAIR SETTLEMENT PRACTICES. TEX. INS. CODE §541.060(a). All violations under this provision

are made actionable by TEX. INS. CODE §541.151.
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       22.     Falsehoods and misrepresentations under Texas law may be communicated by

actions as well as spoken word; therefore, deceptive conduct is equivalent to a verbal

representation. UPC’s misrepresentations by means of deceptive conduct include, but are not

limited to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs damages;

(2) stating—by way of the estimate—the Plaintiffs’ damages were less extensive or severe than

they actually were, resulting in the undervaluing of Plaintiffs’ damages; (3) using the adjuster’s

statements and conclusions about the scope and degree of the damage as a pretext for effectively

denying covered damages and/or underpaying damages; and (4) failing to provide an adequate

explanation for the inadequate payment(s) Plaintiffs in fact received.

       23.     UPC’s unfair settlement practice, as described above, of misrepresenting—by

words and acts/omissions—to Plaintiffs material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(1).

       24.     UPC’s unfair settlement practice, as described above, of failing to attempt in good

faith to effectuate a prompt, fair, and equitable settlement of the Claim, even though its liability

under the Policy was reasonably clear, constitutes an unfair method of competition and an unfair

and deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

       25.     UPC failed to explain to Plaintiffs the reasons for failing to include all covered

damages in its evaluation and/or payment(s) on the Claim.             Furthermore, UPC did not

communicate that future settlements or payments would be forthcoming to pay for the entire

amount of Plaintiffs’ loss, nor did it provide any explanation for the failure to adequately settle

Plaintiffs’ Claim.   UPC’s conduct is a violation of the TEXAS INSURANCE CODE, UNFAIR

SETTLEMENT PRACTICES. TEX. INS. CODE §541.060(a)(3).




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       26.     Although promptly reported by Plaintiffs to UPC, UPC did not properly inspect the

Property and failed to account for and/or undervalued many of Plaintiffs’ damages, both exterior

and interior. UPC’s unfair settlement practice, as described above, of refusing to pay Plaintiffs’

full Claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(7).

                             NON-COMPLIANCE BY UPC WITH THE
                   TEXAS INSURANCE CODE, PROMPT PAYMENT OF CLAIMS ACT

       27.     UPC’s conduct constitutes multiple violations of the TEXAS INSURANCE CODE,

PROMPT PAYMENT OF CLAIMS ACT. All violations made under this provision are made actionable

by TEX. INS. CODE §542.060.

       28.     UPC’s failure—and thus continuing delay—to remit full payment of the amounts

owed on Plaintiffs’ Claim following its receipt of all items, statements, and forms reasonably

requested and required, as described above, constitutes a non-prompt payment of the Claim. TEX.

INS. CODE §542.058.

                    BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       29.     UPC’s conduct constitutes a breach of the common law duty of good faith and fair

dealing that a Texas insurer owes to its policy holders on account of the disparity in bargaining

power between an insurance company and its individual insureds with respect not only to the

drafting of the contract of insurance itself, but also with respect to the handling and payment of

insured claims.

       30.        UPC’s failure, as described above, to adequately and reasonably investigate and

evaluate Plaintiffs’ Claim, despite the fact that at the very same time, UPC knew, or should have

known by the exercise of reasonable diligence, that its liability was reasonably clear, constitutes a

breach of UPC’s duty of good faith and fair dealing to Plaintiffs, which is both non-delegable and
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continues to exist until the relationship between the parties is ultimately changed to that of

judgement debtor and judgement creditor, respectively.

                      NON-COMPLIANCE BY THOMAS BOGGS WITH THE
                  TEXAS INSURANCE CODE, UNFAIR SETTLEMENT PRACTICES

       31.     Mr. Boggs’ conduct constitutes multiple violations of the TEXAS INSURANCE CODE,

UNFAIR SETTLEMENT PRACTICES. TEX. INS. CODE §541.060(a). All violations under this article

are made actionable by TEX. INS. CODE §541.151.

       32.     Mr. Boggs’ is individually liable for his unfair and deceptive acts because he is a

“person” as defined by TEX. INS. CODE §541.002(2). The term “person” is defined as “any

individual, corporation, association, partnership, reciprocal or interinsurance exchange UPC’s

plan, fraternal benefit society, or other legal entity engaged in the business of insurance, including

an agent, broker, adjuster or life and health insurance counselor.” TEX. INS. CODE §541.002(2)

(emphasis added). (See also Liberty Mutual Insurance Co. v. Garrison Contractors, Inc., 966

S.W.2d 482, 484 (Tex. 1998) (holding an insurance company employee to be a “person” for the

purpose of bringing a cause of action against him or her under the TEXAS INSURANCE CODE and

subjecting him or her to individual liability)).

       33.     Mr. Boggs’ unfair settlement practice, as described above, of misrepresenting to

Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(1).

       34.     Mr. Boggs’ unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the Claim, even though liability

under the Policy is reasonably clear, constitutes an unfair method of competition and an unfair and

deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).



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        35.     The unfair settlement practice of Mr. Boggs, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

the facts or applicable law, for the offer of a compromise settlement of Plaintiffs’ Claim,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. TEX. INS. CODE §541.060(a)(3).

        36.     Mr. Boggs’ unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the Claim to Plaintiffs, or to submit a reservation of

rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).

        37.     Mr. Boggs’ unfair settlement practice, as described above, of refusing to pay

Plaintiffs’ Claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(7).

                                        VI. KNOWLEDGE

        38.     All of the acts described above, together and singularly, were done “knowingly” as

that term is used in the TEXAS INSURANCE CODE and were a producing cause of Plaintiffs’ damages

described herein.

                                VII. CONDITIONS PRECEDENT

        39.     All conditions precedent to Plaintiffs’ claims for relief have been performed or have

occurred and/or UPC waived the same. This includes, but is not limited to, providing notice

pursuant to TEX. INS. CODE §542A.003 and pre-litigation alternative dispute resolution, if any.

Plaintiffs plead, would show, and does aver that—to the extent any Defendant or Defendants might

allege that Plaintiffs’ presuit Notice fails, was invalid, or failed to conform strictly with the timeline




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required by §542A.003(a)—Plaintiffs’ presuit notice and the filing of this lawsuit fall within the

savings clause of §542A.003(d)(1).

                                       VIII. DAMAGES

        40.     Plaintiffs would show that all the acts as alleged herein, taken together or singularly,

constitute the producing cause of the damages sustained by Plaintiffs.

        41.     As previously mentioned, Plaintiffs’ covered losses have not been properly

addressed or paid, which has prevented Plaintiffs from making necessary repairs, thus causing

further, consequential damage, to the Property while also causing undue hardship and a burden on

Plaintiffs. These damages and losses are a direct result of Defendants’ mishandling of Plaintiffs’

Claim in violation of the terms of the Policy at issue and of the laws set forth above.

        42.     For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain

with respect to their purchase of the Policy, which is the amount of their Claim, together with

attorneys’ fees under TEXAS CIVIL PRACTICE & REMEDIES CODE Section 38.001.

        43.     For noncompliance with the TEXAS INSURANCE CODE, UNFAIR SETTLEMENT

PRACTICES, Plaintiffs are entitled to actual damages, which include the loss of the benefits that

should have been paid pursuant to the Policy, mental anguish, court costs, interest, and attorneys’

fees. For knowing conduct of the acts and conduct described and complained of above, Plaintiffs

are entitled to, and hereby, seek recovery of three times their actual damages. TEX. INS. CODE

§541.152.

        44.     For noncompliance with the TEXAS INSURANCE CODE, PROMPT PAYMENT                      OF

CLAIMS ACT, Plaintiffs are entitled to interest on the amount of the Claim as damages at the

applicable rate as determined under TEX. INS. CODE §542.060(a), §542.060(c), and TEX. FIN. CODE

§304.003, together with reasonable and necessary attorneys’ fees, which shall be taxed as part of

the costs in the case.

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        45.    For breach of common law duty of good faith and fair dealing, Plaintiffs are entitled

to compensatory damages, including all forms of loss resulting from UPC’s breach of its Duty,

such as additional costs, economic hardship, additional losses resulting from nonpayment of the

amount owed, exemplary damages, and damages for emotional distress.

        46.    For the prosecution and collection of this Claim, Plaintiffs have been compelled to

engage the services of the attorney and law firm whose names are subscribed to this pleading.

Therefore, Plaintiffs are entitled to recover a sum for the reasonable and necessary services of

Plaintiffs’ attorney in the preparation and trial of this action, including any appeals to the Court of

Appeals and/or the Texas Supreme Court.

                                       IX. JURY DEMAND

47.     Plaintiffs request that all causes of action alleged herein be tried before a jury consisting of

citizens residing in Galveston County, Texas. Plaintiffs hereby tender the appropriate jury fee.

                       X. DISCOVERY REQUESTS TO ALL DEFENDANTS

                                    REQUESTS FOR DISCLOSURE

48.     Pursuant to Rule 194.2 of the TEXAS RULES            OF   CIVIL PROCEDURE, Defendants are

requested to disclose, within 50 days of service of this request, the information or material

described in TEXAS RULE OF CIVIL PROCEDURE 194.2.

                                    REQUEST FOR PRODUCTION

49.     Plaintiffs’ First Request for Production to Defendant UPC is attached hereto as “Exhibit

A”. Defendant UPC is required to provide, within 50 days of service of same, all documents and

information responsive to these Requests to Plaintiffs via their attorneys, whose names are

subscribed to this pleading.

                                     REQUEST FOR ADMISSION




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50.     Plaintiffs’ First Request for Admission to Defendant UPC is attached hereto as “Exhibit

B”. Defendant UPC is required to provide, within 50 days of service of same, its admissions or

denials to these Requests to Plaintiffs via their attorneys, whose names are subscribed to this

pleading.

                                         INTERROGATORIES

51.     Plaintiff Trent Norris’ First Set of Interrogatories to Defendant UPC is attached hereto as

Exhibit “C-1”. Defendant UPC is required to provide, within 50 days of service of same, its

verified responses to these Interrogatories to Plaintiffs via their attorneys, whose names are

subscribed to this pleading.

52.     Plaintiff Trent Norris’ First Set of Interrogatories to Defendant Boggs is attached hereto as

Exhibit “C-2”. Defendant Boggs is required to provide, within 50 days of service of same, his

verified responses to these Interrogatories to Plaintiffs via their attorneys, whose names are

subscribed to this pleading.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

TEXAS INSURANCE CODE, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorneys’ fees for the trial and any appeal of this cause, for all costs

of Court on their behalf expended, for pre-judgment and post-judgment interest as allowed by law,

and for all such other and further relief, whether by law or at equity, to which they may show

themselves to be justly entitled.




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                                Respectfully submitted,
                                THE COOK LAW FIRM, PLLC


                                By: /s/ Andrew C. Cook
                                   Andrew C. Cook
                                   State Bar No. 24057481
                                   7324 Southwest Freeway, Suite 585
                                   Houston, Texas 77074
                                   Tel. (713) 401-2890
                                   Facsimile: (682) 200-2849
                                   Email: acc@texinsurancelaw.com
                                AND:
                                WILLIAMS KHERKHER HART BOUNDAS, LLP

                                By: /s/ Sean H. McCarthy
                                    Sean H. McCarthy
                                    State Bar No. 24065706
                                    Email: smccarthy@williamskherkher.com

                                   8441 Gulf Freeway, Suite 600
                                   Houston, TX 77017
                                   Telephone: (713) 230-2200
                                   Facsimile: (713) 643-6226

                                ATTORNEYS FOR PLAINTIFF




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                      EXHIBIT “A”
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                                        CAUSE NO. ________

  TRENT NORRIS AND DAYNA OWEN                        §        IN THE DISTRICT COURT OF
                                                     §
                       Plaintiffs,                   §
                                                     §
                        v.                           §        GALVESTON COUNTY, TEXAS
                                                     §
   UNITED PROPERTY & CASUALTY                        §
     INSURANCE COMPANY AND                           §
          THOMAS BOGGS                               §
                                                     §
                      Defendants.                    §        ________ JUDICIAL DISTRICT


  PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT UNITED
                 PROPERTY & CASUALTY INSURANCE COMPANY

        COMES NOW Plaintiff, in the above-styled and numbered cause, and requests that all Defendants:

(1) answer the Requests for Production separately and fully in writing within 50 days of service. (2) serve

your answers to these Requests for Production on Plaintiff by and through their attorney of record, Andrew

C. Cook, THE COOK LAW FIRM, PLLC, 7324 Southwest Fwy, Suite 585, Houston, Tx 77074; and (3)

produce all documents responsive to the Requests for Production as they are kept in the usual course of

business or organized and labeled to correspond to the categories in the requests within 50 days of service

at THE COOK LAW FIRM, PLLC. You are also advised that you are under a duty to seasonably amend and/or

supplement your responses if you obtain information on the basis of which:

        a.      You know the response made was incorrect or incomplete when made; or

        b.      You know the response, though correct and complete when made, is no longer true and

                complete, and the circumstances are such that a failure to amend the answer in substance

                is misleading.
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                                 DEFINITIONS AND INSTRUCTIONS

A.     These Requests call for your personal and present knowledge, as well as the present knowledge of
       your attorneys, investigators and other agents, and for information available to you and to them.

B.     The term “document” shall have the broadest meaning possible under the applicable Rules of Civil
       Procedure governing this litigation (whether Texas or Federal) and shall include, but not be limited
       to, the original (or a copy when the original is not available) and each non-identical copy (including
       those which are non-identical by reason of annotation or markings, or by appearing in the files of
       a separate person). The term “document” also includes all electronically stored information
       (“ESI”), and each specific request for documents shall be deemed to specifically request electronic
       documents and records.

C.     The terms “relate(s) to,” “relating to,” or “regarding” shall have a meaning consistent with their
       usage in the English language in the broadest sense possible; i.e. having any logical or factual
       connection whatsoever with the subject matter in question.

D.     “Communication” means, without limitation of its generality, statements, discussions,
       conversations, correspondence, e-mails, texts, instant messages, intranet communications,
       speeches, meetings, remarks, questions, answers, panel discussions and symposia, whether written
       or oral. The term includes, without limitation of its generality, communications and statements that
       are face to face and those that are transmitted by any other method, including, but not limited to,
       the Internet, e-mail servers (whether internal or external), telephone, networked computers, external
       storage devices, cloud-based sharing technologies (such as DropBox), or any other method that
       effectuates a Communication.

E.     If you claim that any document which is required to be identified or produced by you in any
       response is privileged:
       1.      Identify the document’s title and general subject matter;
       2.      State its date;
       3.      Identify all persons who participated in its preparation;
       4.      Identify the persons for whom it was prepared or to whom it was sent;
       5.      State the nature of the privilege claimed; and
       6.      State in detail each and every fact upon which you base your claim for privilege.

F.     “You,” “Your,” “Yours”, “Defendant” and “Defendants” means all Defendants in this case.

G.     “Property” means the property defined in the Petition.

H.     “Policy” means the insurance policy identified in the Petition.

I.     The word “storm” shall refer to the storm described in the Petition that resulted in the claim.
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J.     “Plaintiff” includes all Plaintiffs and refers to a single Plaintiff or multiple Plaintiffs, if applicable.


              PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION TO
       DEFENDANT UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

1.     All communications and documents, including electronic, between Defendant and
       Plaintiffs regarding Plaintiffs’ claim(s).

       RESPONSE:

2.     All communications and documents, including electronic, between Defendant and any
       third party regarding Plaintiffs’ claim(s).

       RESPONSE:

3.     All communications and documents, including electronic, between Defendant and any
       other defendant(s) regarding Plaintiffs’ claim(s).

       RESPONSE:

4.     All communications and documents, including electronic, between Defendant’s business
       departments, including all persons part of the Defendant company, regarding Plaintiffs’
       claim(s).

       RESPONSE:

5.     All communications and documents, including electronic, Defendant sent to any other
       defendant(s) in this cause of action regarding Plaintiffs or the Property, after Plaintiffs
       made their claim(s) for coverage.

       RESPONSE:

6.     Color copies of all photographs, diagrams, drawings, or other graphic depictions of
       Plaintiffs or the Property made the basis of this Lawsuit.

       RESPONSE:

7.     Any and all documents, reports, data, emails, notes, photos, videos, manuals, guides, and
       summaries, regarding the insurance claim(s) made the basis of this lawsuit.

       RESPONSE:


8.     All reports and other documents from governmental agencies or offices regarding
       Plaintiffs’ Property or containing officially kept information regarding Plaintiffs’ Property.
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        RESPONSE:

9.      Any and all claims files and claim reports, including but not limited to notes, emails, data,
        photos, videos, manuals, guides, summaries and claim documents, regarding all
        homeowner insurance claims made by Plaintiffs under their homeowner insurance
        policy/policies, specifically regarding damage to the exterior and interior of Plaintiffs’
        Property. This request is limited to the last ten (10) years.

        RESPONSE:

10.     All documents including reports, estimates, data, emails, testing, sampling, videos, and
        photographs received by Defendant regarding inspections of Plaintiffs’ Property made the
        basis of this Lawsuit.

        RESPONSE:

11.     Any and all records Defendant received, including those obtained by way of deposition by
        written questions, regarding Plaintiffs’ Property made the basis of this Lawsuit.

        RESPONSE:

12.     Any and all records or documents Defendant has reviewed and/or obtained regarding
        Plaintiffs’ Property made the basis of this Lawsuit.

        RESPONSE:

13.     All bulletins or other communications received from the Texas Department of Insurance,
        the Texas Insurance Commissioner, or their agents, regarding practices in the handling of
        claims for property damage, hurricane damage, water damage, hail damage, roof damage,
        and/or wind damage under homeowner insurance policies in Texas. This request is limited
        to the last five (5) years.

        RESPONSE:

14.     All materials meant to instruct and guide claims adjusters under Texas law and/or company
        policy with regard to unfair claims settlement practices, unfair claims handling practices,
        standards to be met in adjusting or handling first party insurance claims, or avoiding
        charges of bad faith. This request is limited to the last five (5) years.

        RESPONSE:

15.     All materials meant to instruct and guide claims adjusters under Texas law and/or company
        policy with regard to understanding and complying with the Texas Insurance Code
        §541.060. This request is specifically limited to the last five (5) years.

        RESPONSE:
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16.     All materials meant to instruct and guide claims adjusters under Texas law and/or company
        policy with regard to understanding and complying with the Texas Insurance Code
        §542.055 et seq.. This request is specifically limited to the last five (5) years.

        RESPONSE:

17.     Any and all materials, documents, statements and/or files that demonstrate Defendant’s net
        worth and Defendant’s net income. This request is limited to the last five (5) years.

        RESPONSE:

18.     Any and all materials, documents, statements and/or files that reflect complaints and/or
        lawsuits, filed by insureds against Defendant regarding the handling, review and/or
        adjusting of homeowner insurance claims in Texas. This request is limited to the last five
        (5) years.

        RESPONSE:

19.     A copy of each advertisement Defendant has used, published and/or distributed, through
        any means, in Texas. This request is limited to the last five (5) years.

        RESPONSE:

20.     Any and all materials reflecting Defendant’s attendance policies for adjusters and claims
        representatives at seminars and/or continuing education classes regarding the adjusting
        and/or handling of homeowner insurance claims, commercial insurance claims, property
        damage claims, hurricane claims, hail damage claims, roof damage claims, and/or wind
        damage claims in Texas. This request is limited to the last five (5) years.

        RESPONSE:

21.     Any and all computer programs, electronic data, documents, and/or manuals used by the
        adjusters and claims representatives to perform property damage estimates relating to
        homeowner insurance claims in Texas, including a complete copy of the computer program
        used to adjust Plaintiffs’ claim(s). This request is limited to the last five (5) years.

        RESPONSE:

22.     Any and all reference materials, handouts, manuals, outlines, articles, and/or documents
        that have been distributed by and/or disbursed to Defendant regarding the price estimates
        of contractors and changes of those estimates within different geographical areas of the
        State of Texas. This request is limited to the last five (5) years.

        RESPONSE:
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23.     Any and all materials, documents, files, invoices, and/or reports of any and all contractors
        and roofing companies retained to investigate, inspect, and/or evaluate Plaintiffs’ claim(s)
        made the basis of this lawsuit, prepared on behalf of the Defendant.

        RESPONSE:

24.     Any and all materials, documents, files, invoices, and/or reports of any and all contractors
        and roofing companies retained to investigate, inspect, and/or evaluate claims similar in
        nature to Plaintiffs’ claim(s) asserted in this lawsuit, prepared on behalf of Defendant. This
        request is limited to the State of Texas. This request is limited to the last five (5) years.

        RESPONSE:

25.     A complete copy of the entire personnel file(s) of any and all adjusters assigned to
        Plaintiffs’ claim made the basis of this Lawsuit.

        RESPONSE:

26.     The most recent address maintained on file for any and all adjusters assigned to Plaintiffs’
        claim made the basis of this Lawsuit.

        RESPONSE:

27.     Any and all activity logs relating to Plaintiffs’ claim(s) for property damage, hurricane
        damage, hail damage, roof damage, and/or wind damage to their property, specifically the
        claim(s) made the basis of this suit.

        RESPONSE:

28.     Any and all documents reflecting company guidelines, procedures, or policies that serve as
        criteria for evaluating whether claims are covered or excluded by any policy provisions
        Defendant contends applied to Plaintiffs’ claim(s).

        RESPONSE:

29.     Any and all organizational charts for Defendant.

        RESPONSE:

30.     Any and all organizational charts or diagrams for each department, unit, or section of
        Defendant to which Plaintiffs’ claim(s) was assigned. This request is limited to the last
        five (5) years.

        RESPONSE:
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31.     Any and all charts or diagrams reflecting the chain of command or supervisory hierarchy
        relating to each person involved in handling Plaintiffs’ claim(s).

        RESPONSE:

32.     Any and all claims and underwriting files for each claim involving property damage,
        hurricane damage, hail damage, roof damage, and/or wind damage made against
        Defendant, investigated by any and all adjusters assigned to Plaintiffs’ claim made the basis
        of this Lawsuit in Texas. This request is limited to the last five (5) years.

        RESPONSE:

33.     Any and all demand letters received by Defendant after the handling of a claim involving
        property damage, hurricane damage, hail damage, roof damage, and/or wind damage that
        was adjusted by any and all adjusters assigned to Plaintiffs’ claim made the basis of this
        Lawsuit. This request is limited to the last five (5) years.

        RESPONSE:

34.     Any and all documents reflecting or relating to Defendant’s decision to pay or deny
        additional living expenses to or on behalf of Plaintiffs in this case.

        RESPONSE:

35.     Any and all documents relating to the assignment of Plaintiffs’ claim(s) to any and all
        adjusters assigned to Plaintiffs’ claim made the basis of this Lawsuit, from the time of
        hiring through the present.

        RESPONSE:

36.     Any and all documents relating to or reflecting referrals of vendors to Plaintiffs or any
        insured.

        RESPONSE:

37.     If you are withholding documents based upon the assertion of a privilege, please produce
        a privilege log, detailing with reasonable particularity a description of the documents
        withheld, the number of documents, and the applicable privilege which Defendant claims
        properly precludes the information discovery.

        RESPONSE:

38.     Any and all advanced or specialized certifications of personnel who inspected,
        investigated, and/or supervised the adjusting of the claim(s) pertaining to the Property
        made the basis of this Lawsuit.
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        RESPONSE:

39.     Any and all documents, including contracts, rules, guidelines and/or instructions
        exchanged between Defendant, Plaintiffs, and any and all adjusters assigned to Plaintiffs’
        claim made the basis of this Lawsuit, from the time of hiring through the present, and any
        other entities with whom Defendant worked or communicated regarding the Property made
        the basis of this Lawsuit.

        RESPONSE:

40.     All physical or tangible items and/or potentially usable evidence obtained by, or on behalf
        of, Defendant from the scene of the occurrence made the basis of this suit.

        RESPONSE:

41.     Any and all indemnity agreements between Defendant and any other person, firm, or
        corporation against which a claim of indemnification might be brought because of the facts
        in this lawsuit.

        RESPONSE:

42.     Any and all complaint policies and procedures regarding the handling by Defendant of
        complaints made by homeowner insureds. This request is limited to the last five (5) years.

        RESPONSE:

43.     Copies of all job descriptions of employees that adjusted or in any way supervised the
        handling of Plaintiffs’ claim(s).

        RESPONSE:

44.     All computer files, databases, electronically-stored information or computer-stored
        information regarding the claims handling procedures and protocols used in Texas related
        to property damage claims (specifically, hurricane, water, roof and/or catastrophe claims)
        that have been compiled, prepared, supervised and/or directed by Defendant, which would
        have been accessible or applicable to the claim(s) made the basis of this lawsuit. This
        request is limited to Texas and the time period starting January 1, 2016 to present. This
        request includes documents in Defendant’s possession as well as in possession of any third
        party adjusting company or adjuster used by Defendant to adjust such referenced claims
        from January 1, 2016 to present.

        RESPONSE:

45.     True and complete copies of all activity logs filed by the staff and independent adjusters
        on the file.
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        RESPONSE:

46.     Any and all reports, documents, or correspondence containing the names and locations of
        all adjusters who have worked on this file to the present.

        RESPONSE:

47.     Any and all reports, documents or correspondence reflecting the reserving and payment
        history of indemnity, expenses, and vendors on this file including but not limited to dates,
        changes and requests made by the adjusters. This request is limited to the last five (5)
        years.

        RESPONSE:

48.     Any and all correspondence and lawsuits involving vendors, staff or management involved
        with property claims, property damage, hurricane damage, hail damage, roof damage,
        and/or wind damage claims from 2012 to present.

        RESPONSE:

49.     Any and all correspondence and lawsuits concerning the issues of honesty, conflict of
        interest, criminal actions, past criminal record, criminal conduct, fraud investigation and/or
        inappropriate behavior of any person associated with the handling of claims files,
        management of property damage, hail damage, roof damage and/or wind damage claims,
        including staff and vendors.

        RESPONSE:

50.     Any and all answers made in previous discovery requests for lists or databases of property
        damage, hurricane damage, hail damage, roof damage and/or wind damage.

        RESPONSE:

51.     Any and all answers and affidavits made by Defendant and its counsel in previous
        discovery requests for training procedures, and training manuals for property damage,
        hurricane damage, hail damage, roof damage, and/or wind damage claims.

        RESPONSE:

52.     Any and all reports, documents or correspondence containing names of designated
        individuals who gave testimony as Person Most Knowledgeable for claims, property
        damage, hurricane damage, catastrophe, hail damage, roof damage, and/or wind damage
        claims for 2012 through the present. Include a list of the lawsuits where testimony was
        given.

        RESPONSE:
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53.     Any and all reports, documents or correspondence containing lists of attendees, dates, and
        locations of all meetings conducted by Defendant for all independent adjusters and
        Defendant’s staff for property damage claims, Hurricane Harvey claims, wind damage
        claims, hail damage claims, and/or roof damage claims training. This request is limited to
        the last ten (10) years.

        RESPONSE:

54.     Any and all reports, documents or correspondence containing lists of files with written
        complaints or Department of Insurance complaints on property damage, hurricane damage,
        wind damage, hail damage, and/or roof damage claims previously gathered and produced
        in other TDI complaints or lawsuits. This request is limited to the last five (5) years.

        RESPONSE:

55.     Copies of the front and back of each negotiated check made payable solely or co-payable
        to Plaintiffs under the insurance policy in effect during the time of the insurance claim
        made the basis of this lawsuit, and which was issued by Defendant.

        RESPONSE:

56.     Copies of the front and back of each negotiated check made payable solely or co-payable
        to Plaintiffs regarding the insurance claim made the basis of this lawsuit.

        RESPONSE:

57.     Studies commissioned by Defendant, including any done by a law firm, to analyze their
        claim management strategies, and/or to help them improve corporate profits.

        RESPONSE:

58.     Affidavits or depositions of the employee(s) who handled Plaintiffs’ claim(s), or their
        supervisors, in other cases involving the same or similar allegations in this case.

        RESPONSE:

59.     For any consulting expert whose mental impressions or opinions have been reviewed by a
        testifying expert: all documents and tangible things, reports, models, or data compilations
        that have been provided to, reviewed by, or prepared by or for the expert in anticipation of
        a testifying expert’s testimony.

        RESPONSE:

60.     Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing a conviction
        of crime which you intend to use as evidence to impeach Plaintiff or any witnesses.
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        RESPONSE:

61.     All correspondence, whether hand written, typed, computer generated, or emails regarding
        pricing used by Defendant in the adjusting of wind, hail, or claims in Galveston County,
        Texas. This request is limited to the past three (3) years.

        RESPONSE:

62.     All correspondence, whether hand written, typed, computer generated, or emails regarding
        variations from Defendant’s price list, including, but not limited to, when a variation is
        permissible, who is authorized to make such variations and what documentation, if any,
        must be included in a file with a pricing variation.

        RESPONSE:

63.     All correspondence, whether hand written, typed, computer generated, emails, instructions,
        procedures and/or company policies regarding the unit roofing prices used by Defendant
        for wind, hail, or claims in Galveston County, Texas., including, but not limited to, what
        items Defendant alleges to be included in these unit prices. This request is limited to the
        past three (3) years.

        RESPONSE:

64.     All communications and documents, including electronic, regarding Defendant’s process
        of selecting engineers in its adjusting process. This request is limited to the last five years.

        RESPONSE:

65.     All communications and documents, including electronic, regarding coverage disputes
        between Defendant and engineers in the adjusting process.

        RESPONSE:

66.     All communications and documents, including electronic, regarding the payment of
        overhead and profit. This request is limited to the last five years.

        RESPONSE:

67.     All communications and documents, including electronic, regarding Defendant’s process
        for storing and retrieving documents and emails.

        RESPONSE:
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68.     All communications and documents, including electronic, regarding Defendant’s use of
        depreciation in insurance claims, including, but not limited to, how depreciation is
        calculated on a particular item and what training, if any, adjusters employed by or working
        on behalf of Defendant receive on calculating depreciation and what evidence Defendant
        requires a policyholder to present in order to receive the holdback depreciation on his
        claim. This request is limited to the last five years.

        RESPONSE:
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 34 of 77



                                Respectfully submitted,
                                THE COOK LAW FIRM, PLLC


                                By: /s/ Andrew C. Cook
                                   Andrew C. Cook
                                   State Bar No. 24057481
                                   7324 Southwest Freeway, Suite 585
                                   Houston, Texas 77074
                                   Tel. (713) 401-2890
                                   Facsimile: (682) 200-2849
                                   Email: acc@texinsurancelaw.com
                                AND:
                                WILLIAMS KHERKHER HART BOUNDAS, LLP

                                By: /s/ Sean H. McCarthy
                                    Sean H. McCarthy
                                    State Bar No. 24065706
                                    Email: smccarthy@williamskherkher.com
                                    8441 Gulf Freeway, Suite 600
                                    Houston, TX 77017
                                    Telephone: (713) 230-2200
                                    Facsimile: (713) 643-6226

                                ATTORNEYS FOR PLAINTIFF
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                          EXHIBIT B
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                                         CAUSE NO. ________

  TRENT NORRIS AND DAYNA OWEN                        §        IN THE DISTRICT COURT OF
                                                     §
                       Plaintiffs,                   §
                                                     §
                        v.                           §        GALVESTON COUNTY, TEXAS
                                                     §
   UNITED PROPERTY & CASUALTY                        §
     INSURANCE COMPANY AND                           §
          THOMAS BOGGS                               §
                                                     §
                      Defendants.                    §        ________ JUDICIAL DISTRICT

 PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT UNITED PROPERTY
                      & CASUALTY INSURANCE COMPNAY

        COMES NOW Plaintiff, in the above-styled and numbered cause, and requests that all Defendants:

(1) answer the following Request for Admissions separately and fully in writing under oath within 50 days

of service; (2) serve your answers to the Request for Admissions on Plaintiff by and through their attorney

of record, Andrew C. Cook, THE COOK LAW FIRM, PLLC, 7324 Southwest Fwy, Suite 585,Houston,Tx

77074 ; You are also advised that you are under a duty to seasonably amend and/or supplement your

responses if you obtain information on the basis of which:

        a.      You know the response made was incorrect or incomplete when made; or

        b.      You know the response, though correct and complete when made, is no longer true and

                complete, and the circumstances are such that a failure to amend the answer in substance

                is misleading.
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          PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS TO
  DEFENDANT UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

  1. Admit Plaintiffs submitted the claim for storm damage identified with Claim No.
     2017TX025994 within the deadlines prescribed by the Policy.

RESPONSE:

  2. Admit Plaintiffs fully complied with all contractual obligations imposed by the Policy.

RESPONSE:

  3. Admit that Defendant UPC should assist its policyholders with their insurance claims.

RESPONSE:

  4. Admit that Defendant UPC must disclose to its insureds all benefits, coverages, and time
     limits that may apply to their claims.

RESPONSE:

  5. Admit that Defendant UPC should treat its policyholders’ interests as no less than equal to
     its own.

RESPONSE:

  6. Admit that Defendant UPC issued an Insurance Policy (Policy No. UTH033775701)
     providing property insurance coverage for the Property located at 206 Oak Dr.,
     Friendswood, TX 77546 to Plaintiffs: Trent Norris and Dayna Norris.
RESPONSE:

  7. Admit that Plaintiffs paid Defendant UPC for the Insurance Policy (Policy No.:
     UTH033775701).

RESPONSE:

  8. Admit that Defendant UPC accepted Plaintiff(s)’ money in exchange for its issuance of the
     Insurance Policy (Policy No.: UTH033775701).

RESPONSE:

  9. Admit that The Insurance Policy (Policy No.: UTH033775701) provides coverage for
     damage caused by wind, during the Policy Period, to the covered Property.

RESPONSE:
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  10. Admit that The Insurance Policy (Policy No.: UTH033775701) provides coverage for
      damage caused by hail, during the Policy Period, to the covered Property.

RESPONSE:

  11. Admit that Plaintiff(s) submitted a claim (Claim No.: 2017TX025994) to Defendant UPC
      for damage to the covered Property caused by wind.

RESPONSE:

  12. Admit that Defendant UPC, either itself or through a third-party, investigated Claim No.
      2017TX025994.

RESPONSE:

  13. Admit that as part of its investigation of Claim No. 2017TX025994, Defendant UPC, either
      itself or through a third-party, assigned a Date of Loss to the underlying event for which
      Plaintiff(s) sought coverage.

RESPONSE:

  14. Admit that The Date of Loss assigned to Claim No. 2017TX025994 occurred during the
      Policy Period of Insurance Policy (Policy No.: UTH033775701).

RESPONSE:

  15. Admit that Under the terms of the Insurance Policy (Policy No.: UTH033775701), in order
      for Plaintiff(s) to be entitled to receive monetary Policy Benefits, there must be a covered
      loss that exceeds the amount of Plaintiff(s)’ Deductible.

RESPONSE:

  16. Admit that During its investigation of Claim No. 2017TX025994, and prior to the date it
      first anticipated litigation, Defendant UPC determined that Plaintiff(s) were not entitled to
      monetary Policy Benefits for this claim.

RESPONSE:

  17. Admit that During its investigation of Claim No. 2017TX025994, and prior to the date it
      first anticipated litigation, UPC determined that Plaintiff(s) were entitled to monetary
      Policy Benefits for this claim.

RESPONSE:
  Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 39 of 77



  18. Admit that Prior to the date it first anticipated litigation, UPC denied coverage for Claim
      No.: 2017TX025994.

RESPONSE:

  19. Admit that Prior to the date it first anticipated litigation, UPC accepted coverage for Claim
      No.: 2017TX025994.

RESPONSE:

  20. Admit that Prior to the date it first anticipated litigation, Defendant UPC communicated to
      Plaintiff(s) its determination that Plaintiff(s) were not entitled to monetary Policy Benefits
      for Claim No. 2017TX025994.

RESPONSE:

  21. Admit that Prior to the date it first anticipated litigation, Defendant UPC communicated to
      Plaintiff(s) its determination that Plaintiff(s) were entitled to monetary Policy Benefits for
      Claim No. 2017TX025994.

RESPONSE:

  22. Admit that Prior to the date it first anticipated litigation, Defendant UPC provided
      monetary Policy Benefits to Plaintiff(s) for Claim No. 2017TX025994.

RESPONSE:

  23. Admit that Prior to the date it first anticipated litigation, Defendant UPC did not provide
      monetary Policy Benefits to Plaintiff(s) for Claim No. 2017TX025994.

RESPONSE:
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                                Respectfully submitted,
                                THE COOK LAW FIRM, PLLC


                                By: /s/ Andrew C. Cook
                                   Andrew C. Cook
                                   State Bar No. 24057481
                                   7324 Southwest Freeway, Suite 585
                                   Houston, Texas 77074
                                   Tel. (713) 401-2890
                                   Facsimile: (682) 200-2849
                                   Email: acc@texinsurancelaw.com
                                AND:
                                WILLIAMS KHERKHER HART BOUNDAS, LLP

                                By: /s/ Sean H. McCarthy
                                    Sean H. McCarthy
                                    State Bar No. 24065706
                                    Email: smccarthy@williamskherkher.com

                                   8441 Gulf Freeway, Suite 600
                                   Houston, TX 77017
                                   Telephone: (713) 230-2200
                                   Facsimile: (713) 643-6226

                                ATTORNEYS FOR PLAINTIFF
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 41 of 77




                        EXHIBIT C-1
    Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 42 of 77



                                         CAUSE NO. ________

  TRENT NORRIS AND DAYNA OWEN                          §        IN THE DISTRICT COURT OF
                                                       §
                        Plaintiffs,                    §
                                                       §
                         v.                            §       GALVESTON COUNTY, TEXAS
                                                       §
   UNITED PROPERTY & CASUALTY                          §
     INSURANCE COMPANY AND                             §
          THOMAS BOGGS                                 §
                                                       §
                      Defendants.                      §        ________ JUDICIAL DISTRICT

 PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT UNITED PROPERTY
                      & CASUALTY INSURANCE COMPANY

        COMES NOW Plaintiff, in the above-styled and numbered cause, and requests that all Defendant

UPC: (1) answer the following Interrogatories separately and fully in writing under oath within 50 days of

service; (2) serve your answers to these Interrogatories on Plaintiff by and through their attorney of record,

Andrew C. Cook, THE COOK LAW FIRM, PLLC, 7324 Southwest Fwy, Suite 585,Houston,Tx 77074 ; You

are also advised that you are under a duty to seasonably amend and/or supplement your responses if you

obtain information on the basis of which:

        a.      You know the response made was incorrect or incomplete when made; or

        b.      You know the response, though correct and complete when made, is no longer true and

                complete, and the circumstances are such that a failure to amend the answer in substance

                is misleading.
     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 43 of 77




       PLAINTIFF TRENT NORRIS’S FIRST SET OF INTERROGATORIES TO
     DEFENDANT UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

1.     Identify all persons and entities involved, associated, or in any way related to the
       investigation or adjustment of 2017TX025994.

ANSWER:


2.     Identify all persons involved in any coverage decisions with respect to 2017TX025994.

ANSWER:


3.     Please identify all evidence that may be used to impeach, by proof of final conviction, any
       witness, including Plaintiff, by stating the following identifying information pursuant to
       Rule 609 of the Texas Rules of Evidence:
              a. The name of the accused;
              b. The charged offense;
              c. Whether the crime was a felony or involved moral turpitude;
              d. The date of final conviction; and
              e. The style, case number, and county of the proceeding.

ANSWER:


4.     Pursuant to Rule 193.3(b) of the Texas Rules of Civil Procedure, identify any documents
       that have been withheld from discovery by this Defendant, based on a claim of privilege
       either in response to a Request for Disclosure or a Request for Production.

ANSWER:


5.     Identify any and all rebuttal or impeaching witnesses who may be called to testify at trial.

ANSWER:


6.     Please list those expert witnesses (if any) identified by Plaintiff whom you contend are not
       qualified to render opinions under the standards set forth in Robinson v. E.I. DuPont de
       Nemours, 923 S.W.2d 549 (Tex. 1995), or in any subsequent opinion by the Texas Supreme
       Court which you contend extends the holdings of Robinson. Please state the basis of your
       contention that they are not qualified.
           Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 44 of 77




     ANSWER:


     7.      If you contend that any opinion rendered by any expert identified by Plaintiff is not
             “reliable” within the meaning of Robinson v. E.I. DuPont de Nemours, 923 S.W.2d 549
             (Tex. 1995), or in any subsequent opinion by the Texas Supreme Court which you contend
             extends the holdings of Robinson, please state the basis of your contention.

     ANSWER:


     8.      If you or any individual adjuster or claims handler that was assigned by a named Defendant
             in this lawsuit to adjust or handle the claim made basis of this lawsuit have been convicted
             of a felony or other crime involving moral turpitude, identify the nature of the offense and
             the date and place of such conviction.

     ANSWER:


9.           State the legal theories and describe the factual bases, for your contention that Defendant
             fully complied with each of the claims handling requirements codified in Tex. Ins. Code
             §541.060, the violation of which is alleged in Plaintiffs’ current live pleading against
             Defendant.

     ANSWER:


     10.     State the legal theories and describe the factual bases for your contention that Defendant
             fully complied with each of the claims handling requirements codified in Tex. Ins. Code
             §542.055, in that Defendant followed all statutory deadlines, and by no later than the 15th
             day of notice of the claim (in the event of a weather-related catastrophe or major natural
             disaster, as defined by the commissioner, the claim-handling deadlines under this
             subchapter are extended for an additional 15 days); acknowledged receipt of the claim,
             commenced investigation of the claim, and requested any proper documents from Plaintiffs
             reasonably believed necessary to conduct such investigation, made additional requests
             during the investigation as necessary, and if acknowledgment of receipt of the claim was
             not in writing, made record of the date, manner and content, as refuted in Plaintiffs’ current
             live pleading against Defendant.

     ANSWER:

     11.     State the legal theories and describe the factual bases for your contention that Defendant
             fully complied with each of the claims handling requirements codified in Tex. Ins. Code
             §542.056, in that Defendant followed all statutory deadlines by notifying Plaintiffs in
             writing the acceptance or rejection of Plaintiffs’ claim no later than the 15th business day
      Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 45 of 77



        after receipt of any requested information from Plaintiffs, in the event of a weather-related
        catastrophe or major natural disaster, as defined by the commissioner, the claim-handling
        deadlines under this subchapter are extended for an additional 15 days, including stating
        the reason if rejected or explanation of why Defendant cannot do so within that time, as
        refuted in Plaintiffs’ current live pleading against Defendant.

ANSWER:


12.     State the legal theories and describe the factual bases for your contention that Defendant
        fully complied with each of the claims handling requirements codified in Tex. Ins. Code
        §542.058, in that Defendant after receiving all items, statements, and forms reasonably
        requested and required under § 542.055, delays payment of the claim for a period
        exceeding the period specified by other applicable statutes or, if other statutes do not
        specify a period, for more than 60 days, the insurer shall pay damages and other items as
        provided by § 542.060, except where it is found as a result of arbitration or litigation that
        a claim received by an insurer is invalid and should not be paid by the insurer, receiving
        all necessary information, Defendant did not delay in making payments for more than 60
        days, as refuted in Plaintiffs’ current live pleading against Defendant.

ANSWER:


13.     Identify by name, address, and telephone number any expert witness who is not expected
        to be called as a witness, but whose work product forms the basis either in whole or in part
        of the opinions of an expert who is to be called as a witness.

ANSWER:


14.     For each consulting expert whose work product has been reviewed or relied upon by a
        testifying expert, please state:

           a. The number of times that expert has been retained by a defendant in any case;
           b. The number of times that expert has been retained by a plaintiff in any case;
           c. The number of times that expert has been retained by the attorney representing
              Defendant in this suit;
           d. The number of times that expert has been retained by the law firm
              representing Defendant in this suit; and
           e. The amount of compensation received or to be received in this case.

ANSWER:
      Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 46 of 77



15.     Identify the location where Defendant keeps, stores, or maintains any Texas Department
        of Insurance bulletin, communication, or document that explains, addresses, or relates to
        the proper application of overhead and profit to homeowners’ property damage claims.

ANSWER:


16.     Identify the location where Defendant keeps, stores, or maintains any Texas Department
        of Insurance bulletin, communication, or document that explains, addresses, or relates to
        the proper application of depreciation to homeowners’ property damage claims.

ANSWER:
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 47 of 77




                                Respectfully submitted,
                                THE COOK LAW FIRM, PLLC


                                By: /s/ Andrew C. Cook
                                   Andrew C. Cook
                                   State Bar No. 24057481
                                   7324 Southwest Freeway, Suite 585
                                   Houston, Texas 77074
                                   Tel. (713) 401-2890
                                   Facsimile: (682) 200-2849
                                   Email: acc@texinsurancelaw.com
                                AND:
                                WILLIAMS KHERKHER HART BOUNDAS, LLP

                                By: /s/ Sean H. McCarthy
                                    Sean H. McCarthy
                                    State Bar No. 24065706
                                    Email: smccarthy@williamskherkher.com

                                   8441 Gulf Freeway, Suite 600
                                   Houston, TX 77017
                                   Telephone: (713) 230-2200
                                   Facsimile: (713) 643-6226

                                ATTORNEYS FOR PLAINTIFF
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 48 of 77




                        EXHIBIT C-2
    Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 49 of 77



                                         CAUSE NO. ________

  TRENT NORRIS AND DAYNA OWEN                          §        IN THE DISTRICT COURT OF
                                                       §
                        Plaintiffs,                    §
                                                       §
                         v.                            §       GALVESTON COUNTY, TEXAS
                                                       §
   UNITED PROPERTY & CASUALTY                          §
     INSURANCE COMPANY AND                             §
          THOMAS BOGGS                                 §
                                                       §
                      Defendants.                      §        ________ JUDICIAL DISTRICT

   PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT THOMAS BOGGS

        COMES NOW Plaintiff, in the above-styled and numbered cause, and requests that all Defendants:

(1) answer the following Interrogatories separately and fully in writing under oath within 50 days of service;

(2) serve your answers to these Interrogatories on Plaintiff by and through their attorney of record, Andrew

C. Cook, THE COOK LAW FIRM, PLLC, 7324 Southwest Fwy, Suite 585,Houston,Tx 77074 ; You are also

advised that you are under a duty to seasonably amend and/or supplement your responses if you obtain

information on the basis of which:

        a.      You know the response made was incorrect or incomplete when made; or

        b.      You know the response, though correct and complete when made, is no longer true and

                complete, and the circumstances are such that a failure to amend the answer in substance

                is misleading.
     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 50 of 77



                   PLAINTIFF TRENT NORRIS’S FIRST SET OF
               INTERROGATORIES TO DEFENDANT THOMAS BOGGS

1.     Identify all persons and entities involved, associated, or in any way related to the
       investigation or adjustment of 2017TX025994.

ANSWER:


2.     Identify all persons involved in any coverage decisions with respect to 2017TX025994.

ANSWER:


3.     Please identify all evidence that may be used to impeach, by proof of final conviction, any
       witness, including Plaintiff, by stating the following identifying information pursuant to
       Rule 609 of the Texas Rules of Evidence:
              a. The name of the accused;
              b. The charged offense;
              c. Whether the crime was a felony or involved moral turpitude;
              d. The date of final conviction; and
              e. The style, case number, and county of the proceeding.

ANSWER:


4.     Pursuant to Rule 193.3(b) of the Texas Rules of Civil Procedure, identify any documents
       that have been withheld from discovery by this Defendant, based on a claim of privilege
       either in response to a Request for Disclosure or a Request for Production.

ANSWER:


5.     Identify any and all rebuttal or impeaching witnesses who may be called to testify at trial.

ANSWER:


6.     Please list those expert witnesses (if any) identified by Plaintiff whom you contend are not
       qualified to render opinions under the standards set forth in Robinson v. E.I. DuPont de
       Nemours, 923 S.W.2d 549 (Tex. 1995), or in any subsequent opinion by the Texas Supreme
       Court which you contend extends the holdings of Robinson. Please state the basis of your
       contention that they are not qualified.
           Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 51 of 77



     ANSWER:


     7.      If you contend that any opinion rendered by any expert identified by Plaintiff is not
             “reliable” within the meaning of Robinson v. E.I. DuPont de Nemours, 923 S.W.2d 549
             (Tex. 1995), or in any subsequent opinion by the Texas Supreme Court which you contend
             extends the holdings of Robinson, please state the basis of your contention.

     ANSWER:


     8.      If you or any individual adjuster or claims handler that was assigned by a named Defendant
             in this lawsuit to adjust or handle the claim made basis of this lawsuit have been convicted
             of a felony or other crime involving moral turpitude, identify the nature of the offense and
             the date and place of such conviction.

     ANSWER:


9.           State the legal theories and describe the factual bases, for your contention that Defendant
             fully complied with each of the claims handling requirements codified in Tex. Ins. Code
             §541.060, the violation of which is alleged in Plaintiffs’ current live pleading against
             Defendant.

     ANSWER:


     10.     Identify by name, address, and telephone number any expert witness who is not expected
             to be called as a witness, but whose work product forms the basis either in whole or in part
             of the opinions of an expert who is to be called as a witness.

     ANSWER:


     11.     For each consulting expert whose work product has been reviewed or relied upon by a
             testifying expert, please state:

                a. The number of times that expert has been retained by a defendant in any case;
                b. The number of times that expert has been retained by a plaintiff in any case;
                c. The number of times that expert has been retained by the attorney representing
                   Defendant in this suit;
                d. The number of times that expert has been retained by the law firm
                   representing Defendant in this suit; and
                e. The amount of compensation received or to be received in this case.

     ANSWER:
Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 52 of 77



                                Respectfully submitted,
                                THE COOK LAW FIRM, PLLC


                                By: /s/ Andrew C. Cook
                                   Andrew C. Cook
                                   State Bar No. 24057481
                                   7324 Southwest Freeway, Suite 585
                                   Houston, Texas 77074
                                   Tel. (713) 401-2890
                                   Facsimile: (682) 200-2849
                                   Email: acc@texinsurancelaw.com
                                AND:
                                WILLIAMS KHERKHER HART BOUNDAS, LLP

                                By: /s/ Sean H. McCarthy
                                    Sean H. McCarthy
                                    State Bar No. 24065706
                                    Email: smccarthy@williamskherkher.com
                                    8441 Gulf Freeway, Suite 600
                                    Houston, TX 77017
                                    Telephone: (713) 230-2200
                                    Facsimile: (713) 643-6226

                                ATTORNEYS FOR PLAINTIFF
Issue 2 citations-email to atty-assigned to Robin G
                                                                                          Filed: 10/2/2019 7:23 PM
                    Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 53 of 77
                                       CIVIL PROCESS REQUEST FORM                   JOHN D. KINARD - District Clerk
                                                                                          Galveston County, Texas
                                                                                                                                             Envelope No. 37337372
                           FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING                                                        By: Lisa Kelly
                          FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED                                               10/3/2019 10:01 AM


               37305920
  CASE NUMBER: ___________________________                                          CURRENT COURT: _____________________________________
                                                           Plaintiffs Original Petition
  TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types): __________________________________________________

  FILE DATE OF MOTION: _________________________________________________________________________________
                                                                                          Month/       Day/    Year
  SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
  1.         United Property & Casualty Insurance Company
       NAME: ______________________________________________________________________________________________
                1999 Bryan Street, Suite 900, Dallas, Texas 75201
       ADDRESS: ___________________________________________________________________________________________
                               CT Corporation System
       AGENT, (if applicable): ___________________________________________________________________________________
  TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): __________________________________________
       SERVICE BY (check one):
             ATTORNEY PICK-UP                                                   CONSTABLE
             CIVIL PROCESS SERVER - Authorized Person to Pick-up: ______________________ Phone: ______________
             MAIL                                                               CERTIFIED MAIL
             PUBLICATION:
              Type of Publication:              COURTHOUSE DOOR, or
                                                NEWSPAPER OF YOUR CHOICE: ______________________________________
             OTHER, explain ________________________________________________________________________________
                               We will perfect service by private process. Pleas e-mail/mail the Plaintiff's Original Petition and Citation to our office.


                                                                ATTENTION: Effective June1, 2010

       For all Services Provided by the DISTRCT CLERKS OFFICE requiring our office to MAIL something back to the
    Requesting Party, we require that the Requesting Party provide a Self-Addressed Stamped Envelope with sufficient postage
                                                   for mail back. Thanks you,

  **********************************************************************************************************

  2.         Thomas Boggs
       NAME: ______________________________________________________________________________________________
                800 2nd Ave S, Saint Petersburg, Florida 33701
       ADDRESS: ___________________________________________________________________________________________
       AGENT, (if applicable): ___________________________________________________________________________________
  TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): __________________________________________
       SERVICE BY (check one):
             ATTORNEY PICK-UP                                                             CONSTABLE
                   CIVIL PROCESS SERVER - Authorized Person to Pick-up: ______________________ Phone: ______________
                   MAIL                                                                   CERTIFIED MAIL
                   PUBLICATION:
                    Type of Publication:           COURTHOUSE DOOR, or
                                                   NEWSPAPER OF YOUR CHOICE: ______________________________________
                   OTHER, explain ________________________________________________________________________________
                                  We will perfect service by private process. Pleas e-mail/mail the Plaintiff's Original Petition and Citation to our office.




  ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
        Andrew C. Cook
  NAME: _____________________________________________                      24057481
                                                      TEXAS BAR NO./ID NO. ______________________________
                   7324 Southwest Fwy, Suite 585, Houston, Texas 77074
  MAILING ADDRESS: ______________________________________________________________________________________
                713
  PHONE NUMBER: ________                             401-2890
                                                     ________________________                                 682
                                                                                                  FAX NUMBER: ________ 200-2849
                                                                                                                       ________________________
                                 area code                      phone number                                     area code         fax number
                 acc@texinsurancelaw.com cc: reception@texinsurancelaw.com
  EMAIL ADDRESS: ________________________________________________________________________________________


                                                                                    Page 1 of 2
  S:\FormsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintake\Civil Process Request Form                                                     Rev. 5/7/10
                  Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 54 of 77
    SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO
    CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
    SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.




INSTRUMENTS TO BE SERVED:                                                                       PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                                                NON WRIT:
ORIGINAL PETITION                                                                               CITATION
 ______ AMENDED PETITION                                                                        ALIAS CITATION
 ______ SUPPLEMENTAL PETITION                                                                   PLURIES CITATION
                                                                                                SECRETARY OF STATE CITATION
                                                                                                COMMISSIONER OF INSURANCE
COUNTERCLAIM                                                                                    HIGHWAY COMMISSIONER
 ______ AMENDED COUNTERCLAIM                                                                    CITATION BY PUBLICATION
 ______ SUPPLEMENTAL COUNTERCLAIM                                                               NOTICE
                                                                                                SHORT FORM NOTICE
CROSS-ACTION:
 ______ AMENDED CROSS-ACTION                                                                    PRECEPT (SHOW CAUSE)
 ______ SUPPLEMENTAL CROSS-ACTION                                                               RULE 106 SERVICE

THIRD-PARTY PETITION:                                                                           SUBPOENA
 ______ AMENDED THIRD-PARTY PETITION
 ______ SUPPLEMENTAL THIRD-PARTY PETITION                                                       WRITS:
                                                                                                ATTACHMENT (PROPERTY)
INTERVENTION:                                                                                   ATACHMENT (WITNESS)
 ______ AMENDED INTERVENTION                                                                    ATTACHMENT (PERSON)
 ______ SUPPLEMENTAL INTERVENTION

INTERPLEADER                                                                                    CERTIORARI
 ______ AMENDED INTERPLEADER
 ______ SUPPLEMENTAL INTERPLEADER                                                               EXECUTION
                                                                                                EXECUTION AND ORDER OF SALE

                                                                                                GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                                      GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY
                                                                                                HABEAS CORPUS
SHOW CAUSE ORDER                                                                                INJUNCTION
                                                                                                TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDER
                                                                                                PROTECTIVE ORDER (FAMILY CODE)
                                                                                                PROTECTIVE ORDER (CIVIL CODE)

BILL OF DISCOVERY:
     ORDER TO: ______________________________                                                   POSSESSION (PERSON)
                                            (specify)                                           POSSESSION (PROPERTY)
     MOTION TO: _____________________________
                                            (specify)
                                                                                                SCIRE FACIAS
                                                                                                SEQUESTRATION
                                                                                                SUPERSEDEAS




                                                                                  Page 2 of 2

S:\FormsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintake\Civil Process Request Form                             Rev. 5/7/10
            Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 55 of 77



          The District Courts of Galveston County, Texas Status Conference Notice

                                     Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)

         Court Name               Status Conference Time                       Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230          Fax       409‐770‐5266
56th District Court                    @ 9:30 A.M.             409‐766‐2226          Fax       409‐770‐5264
122nd District Court                   @ 9:30 A.M.             409‐766‐2275          Fax       409‐770‐6265
212th District Court                   @ 9:00 A.M.             409‐ 766‐2266         Fax       409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688          Fax       409‐765‐2689


                           Date: 12/26/2019 set in the 122nd District Court

Case Number: 19‐CV‐1894
Case Style: Trent Norris Et Al vs. United Property and Casualty Insurance Company Et Al

Helpful Information: Please visit our website at
http://www.galvestoncountytx.gov/dc/Pages/default.aspx

FAQ

Forms

Fee Schedules

Remote Access to on‐line case record searches

Contact and Mailing information

Passport Services

E Filing Information

Helpful Links to Legal Resources and sites

Notice: If this case is filed as an expedited action pursuant to Rule 169 of the Texas Rules of Civil Procedure,
please contact the Court to inform them of the same as soon as possible.




                             JOHN D. KINARD, District Clerk, Galveston County, Texas
        District Clerk Personnel proudly serving our customers, community, and supporting the Judiciary
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 56 of 77


Kelly, Lisa

From:                            postmaster@NETORGFT2789611.onmicrosoft.com
To:                              'acc@texinsurancelaw.com'
Sent:                            Thursday, October 3, 2019 10:21 AM
Subject:                         Delivered: 19-CV-1894 - Status Conference Sheet



Your message has been delivered to the following recipients:

'acc@texinsurancelaw.com' (acc@texinsurancelaw.com)

Subject: 19-CV-1894 - Status Conference Sheet




                                                        1
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 57 of 77


Kelly, Lisa

From:                            Microsoft Outlook
To:                              'smccarthy@williamskherkher.com'
Sent:                            Thursday, October 3, 2019 10:26 AM
Subject:                         Relayed: 19-CV-1894 - Status Conference Sheet



Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

'smccarthy@williamskherkher.com' (smccarthy@williamskherkher.com)

Subject: 19-CV-1894 - Status Conference Sheet




                                                        1
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 58 of 77
                                             CITATION

                                                          THE STATE OF TEXAS

TRENT NORRIS ET AL VS. UNITED PROPERTY AND CASUALTY                                          Cause No.: 19‐CV‐1894
INSURANCE COMPANY ET AL                                                                      122nd District Court of Galveston County

TO:     United Property and Casualty Insurance Company
        Registered Agent CT Corporation System
        1999 Bryan Street Suite 900
        Dallas TX 75201


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551‐2388.
The case is presently pending before the 122nd District Court of Galveston County sitting in Galveston, Texas, and the Original Petition ‐
OCA was filed October 02, 2019. It bears cause number 19‐CV‐1894 and see the attached petition/motion for named parties to the suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 4th day of October, 2019.

Issued at the request of:                                                                   John D. Kinard, District Clerk
Andrew Cook                                                                                 Galveston County, Texas
The Cook Law Firm PLLC
7324 Southwest Freeway Suite 585
Houston TX 77074




                                                                                     By     Robin Gerhardt, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
        Court Name               Status Conference Time                     Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230           Fax        409‐770‐5266
  th
56 District Court                      @ 9:30 A.M.             409‐766‐2226           Fax        409‐770‐5264
    nd
122 District Court                     @ 9:30 A.M.             409‐766‐2275           Fax        409‐770‐6265
    th
212 District Court                     @ 9:00 A.M.             409‐ 766‐2266          Fax        409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688           Fax        409‐765‐2689

                  Date :12/26/2019 set in the 122nd District Court ‐ Judge John Ellisor
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 59 of 77
                                                     RETURN OF SERVICE
Case no. 19‐CV‐1894                                                              In the 122nd District Court
                            Trent Norris Et Al vs. United Property and Casualty Insurance Company Et Al

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition ‐ OCA at the following times and places, to wit:

To:   United Property and Casualty Insurance Company
      Registered Agent CT Corporation System
      1999 Bryan Street Suite 900
      Dallas TX 75201

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                      “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ____________________________, County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 60 of 77
                                             CITATION

                                                          THE STATE OF TEXAS

TRENT NORRIS ET AL VS. UNITED PROPERTY AND CASUALTY                                          Cause No.: 19‐CV‐1894
INSURANCE COMPANY ET AL                                                                      122nd District Court of Galveston County

TO:     Thomas Boggs
        800 2nd Ave S
        Saint Petersburg FL 33701


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551‐2388.
The case is presently pending before the 122nd District Court of Galveston County sitting in Galveston, Texas, and the Original Petition ‐
OCA was filed October 02, 2019. It bears cause number 19‐CV‐1894 and see the attached petition/motion for named parties to the suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 4th day of October, 2019.

Issued at the request of:                                                                   John D. Kinard, District Clerk
Andrew Cook                                                                                 Galveston County, Texas
The Cook Law Firm PLLC
7324 Southwest Freeway Suite 585
Houston TX 77074




                                                                                     By     Robin Gerhardt, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
        Court Name               Status Conference Time                     Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230           Fax        409‐770‐5266
  th
56 District Court                      @ 9:30 A.M.             409‐766‐2226           Fax        409‐770‐5264
    nd
122 District Court                     @ 9:30 A.M.             409‐766‐2275           Fax        409‐770‐6265
    th
212 District Court                     @ 9:00 A.M.             409‐ 766‐2266          Fax        409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688           Fax        409‐765‐2689

                  Date :12/26/2019 set in the 122nd District Court ‐ Judge John Ellisor
              Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 61 of 77
                                                     RETURN OF SERVICE
Case no. 19‐CV‐1894                                                              In the 122nd District Court
                            Trent Norris Et Al vs. United Property and Casualty Insurance Company Et Al

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition ‐ OCA at the following times and places, to wit:

To:   Thomas Boggs
      800 2nd Ave S
      Saint Petersburg FL 33701

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                      “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ____________________________, County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification
            Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 62 of 77


Gerhardt, Robin

From:                              postmaster@NETORGFT2789611.onmicrosoft.com
To:                                'acc@texinsurancelaw.com'
Sent:                              Friday, October 4, 2019 10:08 AM
Subject:                           Delivered: 19 CV 1894 Citation (2)



Your message has been delivered to the following recipients:

'acc@texinsurancelaw.com' (acc@texinsurancelaw.com)

Subject: 19 CV 1894 Citation (2)




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                            Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 63 of 77
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                                                   Galveston, County, Texas


                                                       John                       Ellisor                                                       1f;
                                                                            Judge
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                           NOTICE OF CASE SETTING/ACTION
October O7, 201 9

ANDREW COOK             Fax: 682-200-2849
THE COOK LAW FIRM PLLC
7324 SOUTHWEST FREEWAY SUITE 585
HOUSTON TX            77074

CASE NUMBER:                 19-CV-1 894

CASE STYLE:   TRENT NORRIS ET AL                              VS. UNITED                                         PROPERTY AND CASUALTY
INSURANCE COMPANY ET AL

DATE:                       December      26,   2019

TIME:                       9:30   AM
TYPE OF SETTING/ACTION: STATUS CONFERENCE
lN-PERSON ATTENDANCE BY COUNSEL IS MANDATORY. FAILURE TO DO SO MAY RESULT
IN DISMISSAL FOR WANT OF PRESECUTION.


It   is   the Plaintiff’s responsibility to give notice to                                  all         parties as they are served and/or                                answer


FROM:              Becky Hernandez
                   COURT ADMINISTRATOR
                   122”“   JUDICIAL DISTRICT     COURT
                   600 59TH ST, 4th   FLOOR
                   GALVESTON, TX        77551
                   (409) 766-2275
                                                                                                                 RETURN TO FAX     NO.: (409) 770-6265



                                                CONFIDENTIALITY NOTE
                                Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 64 of 77




FAX CONFIRMATION                                                                                                                                          Result:         Success

Sent by:
Name:                                                  Fax Sender
Voice Number:
Fax Number:
RightFax ID:                                           WAI KUP

Sentto:
Name:                                                  Fax User
Company:
Number/Address:                                        6822002849
Voice Number:
Remote CSID:                                          NEXTIVA54




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                  Case 3:19-cv-00373  Document 1-2 Filed on 11/08/19 in TXSD Page 65
                                  19-CV-1894                                         of 77
                                                                                   JOHN D. KINARD - District Clerk
                                                                                                                          Galveston County, Texas
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                                                                                                                                   By: Rolande Kain
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                                                  RETURN OF SERVICE
  Notice: This document contains sensitive data

 Court
                                                           District Court
                                                       122nd Judicial District
                                                      Galveston County, Texas

 Plaintiff                                                                                         Cause #
                                                  TRENT NORRIS AND DAYNA OWEN
                                                                                                                  19-CV-1894

 Defendant(s)                                                                                      Came to Hand Date/Time
                   UNITED PROPERTY & CASUALTY INSURANCE COMPANY AND THOMAS BOGGS
                                                                                                    10/09/2019          11:45 AM

 Manner of Service                                                                                 Service Date/Time
                                                             Personal
                                                                                                    10/09/2019           2:16 PM
 Documents                                                                                         Service Fee:

                                             CITATION; PLAINTIFF'S ORIGINAL PETITION

                                                                                                                          $77.50

I am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. I
am not a party to or interested in the outcome of this lawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. I received and delivered the Specified Documents to Defendant as stated
herein.

On 10/09/2019 at 2:16 PM: I served CITATION and PLAINTIFF'S ORIGINAL PETITION upon UNITED PROPERTY &
CASUALTY INSURANCE COMPANY c/o CT CORPORATION SYSTEM, REGISTERED AGENT by delivering 1 true
and correct copy(ies) thereof, with UNITED PROPERTY & CASUALTY INSURANCE COMPANY c/o CT
CORPORATION SYSTEM, REGISTERED AGENT, Who accepted service, with identity confirmed by subject
stating their name, KIM HIGHTOWER, a black-haired black female approx. 45-55 years of age, 5'8"-5'10" tall and
weighing 140-160 lbs at 1999 BRYAN STREET SUITE 900, DALLAS, TX 75201.

My name is: John David Whitehead. My date of birth is: 11/10/1966
My address is: 2293 Hawes Ave #2177, Dallas, TX 75235, USA.
My process server identification # is: PSC-12227. My Certification expires: 8/31/2021.
I declare under penalty of perjury that the foregoing, RETURN OF SERVICE, is true and correct.

             DALLAS
Executed in _________________ county, TX.




                                                                                                   10/09/2019

                  John David Whitehead                                                             Date Executed




 Ref Norris v. UPC and Thomas Boggs                                                                Tracking # 0043852004
              0043781212                                                           Cook Law Firm
                                                                            Filed: 11/4/2019 9:56 AM
      Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 66 of 77
                                                                      JOHN D. KINARD - District Clerk
                                                                                         Galveston County, Texas
                                                                                          Envelope No. 38185943
                                                                                              By: Valerie Millican
                                                                                             11/4/2019 10:42 AM

                                     CAUSE NO: 19-CV-1894

TRENT NORRIS AND                               §            IN THE DISTRICT COURT OF
DAYNA OWEN                                     §
                                               §
VS.                                            §            GALVESTON COUNTY, TEXAS
                                               §
UNITED PROPERTY & CASUALTY                     §
INSURANCE COMPANY AND                          §
THOMAS BOGGS                                   §            122ND JUDICIAL DISTRICT

      DEFENDANT UNITED PROPERTY & CASUALTY INSURANCE COMPANY’S
         ORIGINAL ANSWER TO PLAINTIFFS’ ORIGINAL PETITION AND
                       REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, United Property & Casualty Insurance Company (“United Property”),

Defendant in the above-entitled and numbered cause and files this, its Answer to Plaintiffs’

Original Petition and Request for Disclosure and would respectfully show unto the Court the

following:

                                    I.       GENERAL DENIAL

         1.1       United Property & Casualty Insurance Company asserts a general denial as is

authorized by Rule 92 of the Texas Rules of Civil Procedure, and requests that Plaintiffs be

required to prove their charges and allegations against United Property & Casualty Insurance

Company by a preponderance of the evidence as is required by the Constitution and law of the

State of Texas.

                            II.    DENIAL OF CONDITIONS PRECEDENT

         2.1       The Policy contains certain conditions that have not been satisfied that bar

Plaintiffs’ recovery, in whole or in part:

         A.        NO ACTION CLAUSE




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         2.2       The Policy specifically provides, as conditions precedent to property loss

coverage, that no suit can be brought against United Property unless the following policy

provisions have been complied with:

         C.        Duties After Loss

                   1.    Your Duties After Loss

                         In case of a loss to covered property, you must comply with all of the
                         following duties. We have no duty to provide coverage under this policy if
                         the failure to comply with the following duties is prejudicial to us. These
                         duties must be performed either by you or an “insured” seeking coverage.

                         a.     Give prompt notice to us or our agent. With respect to loss caused
                                by windstorm or hail in the catastrophe area, as defined by the
                                Texas Insurance Code, any claim must be filed with us not later
                                than one year after the date of the loss that is the subject of the
                                claim. However, any such claim may be filed after the first
                                anniversary of the date of the loss for good cause shown by the
                                person filing the claim.

                         b.     Adjust all losses directly with us.

                   `            ***
                         e.     Protect the property from further damage. If repairs to the property
                                are required, you must:

                                (1) Provide us with an opportunity to inspect the property in its
                                damaged condition and prior to repairs;

                                (2) Provide us with an opportunity to exercise our option to repair;

                                (3) Provide us with specifications of damage and detailed repair
                                estimates prior to making repairs;

                                (4) Make reasonable and necessary repairs to protect the property;
                                and

                                (5) Keep an accurate record of repair expenses.

                         f.     Cooperate with us in the investigation of a claim;
                                       ***
                         h.     As often as we reasonably require:




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     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 68 of 77



                         (1) Show the damaged property;

                         (2) Provide us with records and documents we request and permit
                         us to make copies; and

                         (3) All insureds must submit to examination under oath, while not
                         in the presence of another “insured”, and sign same;

                   i.    Send to us, within 91 days after our request, your signed, sworn
                         proof of loss on a standard form supplied by us. We must request a
                         signed, sworn proof of loss within 15 days after we receive your
                         written notice, or we waive our right to require a proof of loss.
                         Such waiver will not waive our other rights under this policy.

                         (1) This proof of loss shall set forth, to the best of your knowledge
                         and belief:

                                (a) The time and cause of loss;

                                (b) The interest of all “insureds” and all others in the
                                property involved and all liens on the property;

                                (c) Other insurance which may cover the loss;

                                (d) Changes in the title or occupancy of the property during
                                the term of the policy;

                                (e) Specifications of the damaged buildings and detailed
                                repair estimates;

                                (f) The inventory of damages personal property described
                                in C.1.f. above;

                                (g) Receipts for additional living expenses incurred and
                                records that support the fair rental value loss; and
                                       ***

                   j.    In the County where the “residence premises” is located; “you,”
                         “your” agents, “your” representatives and all “insureds” must
                         submit to examinations under oath and sign the same when asked
                         to do so by “us”. At “your” or “our” request; the examinations will
                         be conducted separately and not in the presence of any other
                         persons except legal representation.
                                        ***




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                   H.     Legal Action Against Us
                          1.    Except as provided in Paragraph 2., no suit or action can be
                                brought against us unless there has been full compliance with all of
                                the terms under Section I of this policy.
                                        ***
                          2.    With respect to suits brought in connection with claims for loss
                                caused by windstorm or hail in the catastrophe area, as defined by
                                the Texas Insurance Code:

                                  No action can be brought against us unless there has been
                                  compliance with all of the terms of this policy.
                                         ***

         2.3       Plaintiffs’ failure to comply with the above provisions constitutes a breach of the

“no action” clause. Accordingly, Plaintiffs are barred from proceeding with their lawsuit and

from recovering damages, attorneys’ fees, interest or other amounts from United Property.

         B.        LOSS DURING THE POLICY PERIOD

         2.4       The Policy does not cover damages which occurred prior to Policy inception

regardless of whether such damages were apparent at the time of the inception of the Policy or

discovered at a later date. To the extent that any part of the loss which Plaintiffs complain did not

occur during the applicable policy period, the Policy provides no coverage for same.

         2.5       The Policy does not cover claims or damages arising out of workmanship, repairs

or lack of repairs arising from damage which occurred prior to Policy inception.

         C.        LOSS ABOVE THE DEDUCTIBLE

         2.6       United Property’s obligation to pay under the Policy extends, if at all, only to a

covered loss that exceeds the Policy deductible. If there is an obligation to pay, it applies only to

the amount of covered loss that exceeds the deductible.

                                          III.    DEFENSES

         3.1       United Property & Casualty Insurance Company denies that the required

conditions precedent were performed and/or occurred.




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         3.2       The damages allegedly sustained by Plaintiffs may have been the result of actions

or omissions of individuals over whom United Property had no control, including but not limited

to Plaintiffs, therefore, United Property is not liable to Plaintiffs.

         3.3       United Property issued a policy of insurance to Dayna Norris and Trent Norris,

and United Property adopts its terms, conditions and exclusions as if copied in extenso.

         3.4       The Policy requires direct, physical loss.

         3.5       The Policy does not cover loss caused by flood, surface water, waves, including

tidal wave and tsunami, tides, tidal water, overflow of any body of water, or spray from any of

these, all whether or not driven by wind, including storm surge; or water which backs up through

sewers or drains or overflows or is otherwise discharged from a sump, sump pump or related

equipment.

         3.6       The Policy does not cover loss caused by wear and tear, marring, deterioration,

mechanical breakdown, latent defect, inherent vice or any quality in property that causes it to

damage or destroy itself.

         3.7       The Policy does not cover loss caused by smog, rust or other corrosion, wet or dry

rot.

         3.8       The Policy does not cover loss caused by settling, shrinking, bulging or

expansion, including resultant cracking, of bulkheads, pavements, patios, footings or

foundations, walls, floors, roofs or ceilings.

         3.9       This Policy does not cover loss caused by constant or repeated seepage or leakage

of water or steam or the presence or condensation of humidity, moisture or vapor, over a period

of weeks, months or years from within a plumbing, heating, air conditioning or automatic fire

protective sprinkler system or from within a household appliance.




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     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 71 of 77



          3.10     The Policy does not cover loss caused by faulty, inadequate or defective

maintenance; design, specifications, workmanship, repair, construction, renovation, remodeling,

grading compaction; or materials used in repair, construction, renovation or remolding.

          3.11     United Property is entitled to any credits or set-offs for prior payments by United

Property or other third parties.

          3.12     To the extent that Plaintiffs’ damages are determined to be the result of a failure

by Plaintiffs to take reasonable steps to mitigate the loss, those damages are not recoverable.

          3.13     Plaintiffs’ extra-contractual claims alleging bad faith fail because a bona fide

controversy existed and continues to exist concerning Plaintiffs’ entitlement, if any, to insurance

benefits.

          3.14     To the extent that all statutory and policy requisites have not been satisfied, this

suit is premature.

          3.15     Plaintiffs’ extra-contractual claims alleging bad faith fail because a finding of the

existence of coverage for Plaintiffs’ underlying insurance claim is necessary to establish any

basis for Plaintiffs’ extra-contractual, Insurance Code claims. Because Plaintiffs’ allegations are

generally based on Defendant’s alleged failure to investigate the claim and pay policy benefits,

the existence of any applicable exclusions precludes Plaintiffs’ extra-contractual, Insurance Code

claims.

          3.16     To the extent Plaintiffs have failed to carry their burden to segregate the damage

attributable solely to the wind-storm event described in Plaintiffs’ Original Petition, those

damages are not recoverable.

                                IV.    REQUEST FOR DISCLOSURE

          Pursuant to Rule 194, Plaintiffs are requested to disclose the information or material

described in Rule 194.



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     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 72 of 77



                               V.      PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Defendant, United Property & Casualty

Insurance Company, respectfully prays that Plaintiffs take nothing by their suit, that Defendant

recovers costs, and for such other and further relief, both at law and in equity, to which United

Property & Casualty Insurance Company may be justly entitled.




                                            Respectfully Submitted,

                                            LEWIS BRISBOIS BISGAARD & SMITH LLP

                                            By: /s/ Sarah R. Smith
                                                Sarah R. Smith
                                                Texas State Bar No. 24056346
                                                Sarah C. Plaisance
                                                Texas State Bar No. 24102361
                                                24 Greenway Plaza, Suite 1400
                                                Houston, Texas 77046
                                                Telephone: 713.659.6767
                                                Facsimile: 713.759.6830
                                                sarah.smith@lewisbrisbois.com
                                                sarah.plaisance@lewisbrisbois.com

                                                ATTORNEYS FOR DEFENDANT,
                                                UNITED PROPERTY & CASUALTY
                                                INSURANCE COMPANY




4831-4684-4842.1
     Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 73 of 77



                                    CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the above pleading has been forwarded
pursuant to the Texas Rules of Civil Procedure on this 4th day of November, 2019.

         Andrew C. Cook                             Via Eserve
         THE COOK LAW FIRM, PLLC
         7324 Southwest Freeway, Suite 585
         Houston, TX 77074
         acc@texasinsurancelaw.com

         Sean H. McCarthy
         WILLIAMS KHERKHER HART BOUNDAS, LLP
         8441 Gulf Freeway, Suite 600
         Houston, TX 77017
         Smccarthy@williamskherkher.com

         Attorneys for Plaintiffs



                                                    /s/ Sarah R. Smith
                                                    Sarah R. Smith




4831-4684-4842.1
                                                                            Filed: 11/5/2019 1:35 PM
      Case 3:19-cv-00373 Document 1-2 Filed on 11/08/19 in TXSD Page 74 of 77
                                                                      JOHN D. KINARD - District Clerk
                                                                                        Galveston County, Texas
                                                                                         Envelope No. 38238787
                                                                                                   By: Lisa Kelly
                                                                                             11/5/2019 1:51 PM

                                    CAUSE NO: 19-CV-1894

TRENT NORRIS AND                             §            IN THE DISTRICT COURT OF
DAYNA OWEN                                   §
                                             §
VS.                                          §            GALVESTON COUNTY, TEXAS
                                             §
UNITED PROPERTY & CASUALTY                   §
INSURANCE COMPANY AND                        §
THOMAS BOGGS                                 §            122ND JUDICIAL DISTRICT

   DEFENDANT UNITED PROPERTY & CASUALTY INSURANCE COMPANY’S
  ELECTION OF LEGAL RESPONSIBILITY PURSUANT TO SECTION 542A.006 OF
                    THE TEXAS INSURANCE CODE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, United Property & Casualty Insurance Company (“UPC”) and files its

Election of Legal Responsibility Pursuant to Section 542A.006 of the Texas Insurance Code

(“Election”) as follows:

                             I.       RELEVANT BACKGROUND

    1. Plaintiffs, Trent Norris and Dayna Owen (“Plaintiffs”) reported a claim to United

Property & Casualty Insurance Company for alleged storm damage to their residence, which was

assigned claim no. 2017TX025994 (the “Claim”). The Claim was adjusted by one or more

individuals at UPC’s request, including Defendant Thomas Boggs (“Adjuster”). For purposes of

this Election, the Adjuster is considered UPC’s “agent” under Texas Insurance Code section

542A.001, which defines the term “agent” as an employee, agent, representative, or adjuster who

performs any act of UPC’s behalf.

                                       II.       ELECTION

    2. Under section 542A.006(a) of the Texas Insurance Code, UPC hereby elects to accept

legal responsibility for whatever liability Adjuster might have to Plaintiffs for his acts or




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omissions related to the Claim, and by this pleading Plaintiffs are provided written notice of

UPC’s Election.

               III.   DISMISSAL OF DEFENDANT BOGGS WITH PREJUDICE

         3. Under section 542A.006(c) of the Texas Insurance Code, and based on UPC’s

Election, this Court “shall dismiss” this action against the Adjuster with prejudice. UPC hereby

requests the Court enter all such documents necessary to effectuate this dismissal with prejudice

and files a proposed order simultaneously herewith.

         WHEREFORE, PREMISES CONSIDERED, Defendant, United Property & Casualty

Insurance Company, prays that this Election be filed with the records of this cause and that

Defendant Thomas Boggs be dismissed from this action with prejudice as mandated under

Chapter 542A of the Texas Insurance Code, and for all other and further relief to which this

Court deems United Property & Casualty Insurance Company entitled.


                                            Respectfully Submitted,

                                            LEWIS BRISBOIS BISGAARD & SMITH LLP

                                            /s/ Sarah C. Plaisance
                                            Sarah R. Smith
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                                            Sarah C. Plaisance
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                                            ATTORNEYS FOR DEFENDANT,
                                            UNITED PROPERTY & CASUALTY
                                            INSURANCE COMPANY




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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument was
served on all counsel of record by electronic filing, certified mail, and/or facsimile on this 5th
day of November, 2019.

         Andrew C. Cook                             Via Eserve
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                                                     /s/ Sarah C. Plaisance
                                                    Sarah C. Plaisance




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                                             CAUSE NO: 19-CV-1894

           TRENT NORRIS AND                           §              IN THE DISTRICT COURT OF
           DAYNA OWEN                                 §
                                                      §
           VS.                                        §              GALVESTON COUNTY, TEXAS
                                                      §
           UNITED PROPERTY & CASUALTY                 §
           INSURANCE COMPANY AND                      §
           THOMAS BOGGS                               §              122ND JUDICIAL DISTRICT

                              ORDER OF DISMISSAL OF DEFENDANT THOMAS BOGGS

                    On this day came before the Court Defendant, United Property & Casualty Insurance

           Company’s, Election of Legal Responsibility Pursuant to Section 542A.006 of the Texas

           Insurance Code. United Property & Casualty Insurance Company has elected to accept legal

           responsibility in the manner required under 542A.006 of the Texas Insurance Code.

                    It is therefore ORDERED, ADJUSTED AND DECREED that all claims and causes of

           action brought against Defendant Thomas Boggs in the above referenced cause are hereby

           DISMISSED with prejudice to refiling of the same. Any and all relief sought against Defendant

           Thomas Boggs and not contained herein is hereby DENIED with prejudice.

                    It is further ORDERED that costs of court herein and any related claim or cause of

           action brought against Defendant Thomas Boggs shall be borne by the party incurring same.



                    SIGNED this______ day of ___________________________, 2019.



                                                             ___________________________________
                                                             JUDGE PRESIDING




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